DOCUMENTS UNDER SEAL
                    Case 5:21-mj-70143-PMRGClear
                                              Document
                                                 Form  25 Filed 02/16/21 Page 31 of 1
                                                           TOTAL TIME (m ins):
M AGISTRATE JUDGE                        DEPUTY CLERK                             REPORTER/FTR
M INUTE ORDER                           P. Cromwell                               Zoom 2:02-2:05pm
MAGISTRATE JUDGE                         DATE                                     NEW CASE         CASE NUMBER
Virginia K. DeMarchi                     February 16, 2021                                       5:21-mj-70143
                                                     APPEARANCES
DEFENDANT                                AGE       CUST  P/NP   ATTORNEY FOR DEFENDANT                 PD.       RET.
Jorge Lozano Guzman                                Y      P        Jack Gordon                         APPT.
U.S. ATTORNEY                            INTERPRETER                             FIN. AFFT           COUNSEL APPT'D
Sarah Griswold                           Spanish - Lupita Arce                   SUBMITTED

PROBATION OFFICER           PRETRIAL SERVICES OFFICER              DEF ELIGIBLE FOR           PARTIAL PAYMENT
                            Pepper Friesen                         APPT'D COUNSEL             OF CJA FEES
                                       PROCEEDINGS SCHEDULED TO OCCUR
       INITIAL APPEAR             PRELIM HRG       MOTION           JUGM'T & SENTG                       STATUS
                                                                                                         TRIAL SET
       I.D. COUNSEL               ARRAIGNMENT            BOND HEARING            IA REV PROB. or         OTHER
                                                                                 or S/R
       DETENTION HRG              ID / REMOV HRG         CHANGE PLEA             PROB. REVOC.            ATTY APPT
                                                                                                         HEARING
                                                    INITIAL APPEARANCE
        ADVISED                ADVISED                  NAME AS CHARGED             TRUE NAME:
        OF RIGHTS              OF CHARGES               IS TRUE NAME
                                                       ARRAIGNM ENT
       ARRAIGNED ON                ARRAIGNED ON              READING W AIVED           W AIVER OF INDICTMENT FILED
       INFORMATION                 INDICTMENT                SUBSTANCE
                                                        RELEASE
      RELEASED           ISSUED                     AMT OF SECURITY       SPECIAL NOTES              PASSPORT
      ON O/R             APPEARANCE BOND            $                                                SURRENDERED
                                                                                                     DATE:
PROPERTY TO BE POSTED                         CORPORATE SECURITY                     REAL PROPERTY:
    CASH    $


      MOTION           PRETRIAL               DETAINED        RELEASED         DETENTION HEARING          REMANDED
      FOR              SERVICES                                                AND FORMAL FINDINGS        TO CUSTODY
      DETENTION        REPORT                                                  W AIVED
ORDER REMOVED TO THE DISTRICT OF
                                                          PLEA
   CONSENT                    NOT GUILTY                 GUILTY                    GUILTY TO COUNTS:
   ENTERED
   PRESENTENCE                CHANGE OF PLEA             PLEA AGREEMENT            OTHER:
   REPORT ORDERED                                        FILED
                                                       CONTINUANCE
TO:                               ATTY APPT               BOND                   STATUS RE:
February 25, 2021                 HEARING                 HEARING                CONSENT               TRIAL SET

AT:                               SUBMIT FINAN.           PRELIMINARY            CHANGE OF             STATUS
                                  AFFIDAVIT               HEARING                PLEA
1:00 pm                                                   _____________
BEFORE HON.                       DETENTION               ARRAIGNMENT            MOTIONS               JUDGMENT &
                                  HEARING                                                              SENTENCING
Virginia K. DeMarchi
       TIME W AIVED               TIME EXCLUDABLE         IDENTITY /             PRETRIAL              PROB/SUP REV.
                                  UNDER 18 § USC          REMOVAL                CONFERENCE            HEARING
                                  3161                    HEARING
                                               ADDITIONAL PROCEEDINGS
All appearances by Zoom. Defendant consents to proceed by Zoom.


                                                                                      DOCUMENT NUMBER:
